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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 In re:                                          )
                                                 )
 Lakeview Development Corporation                )       Case No. 14-16938 EEB
                                                 )       Chapter 7
                                                 )
                                                 )
                                                 )
                         Debtor.                 )

                    NOTICE OF APPOINTMENT OF INTERIM TRUSTEE

 1.       Joli A. Lofstedt, Esq. is appointed interim trustee of the estate of the captioned debtor(s).

 2.       The blanket bond previously filed on behalf of the interim trustee is approved.

 3.       Unless another trustee is elected at any meeting of creditors held pursuant to 11 U.S.C.
          Section 341, if any, the interim trustee shall serve as trustee without further appointment
          or qualification.

 3.       The interim trustee shall be deemed to have accepted the appointment unless the interim
          trustee notifies the Court and the United States Trustee in writing of rejection within
          seven (7) days after receipt of notice of reappointment.

 DATED: April 12, 2016


                                                         Patrick S. Layng
                                                         United States Trustee
